         Case 1:16-cv-00810-GLR Document 16 Filed 09/27/16 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,              )
                                       )
         Plaintiff,                    )             Case 1:16-cv-0810
                                       )
         v.                            )
                                       )
J.A. SUBWAY, INC., and JAMIU LAWAL,    )
                                       )
                                       )
         Defendants.                   )
_______________________________________)

                                        JUDGMENT

       In accordance with the Court’s September 23, 2016 Order (D.E. No. 15), judgment is

hereby entered against J.A. Subway in the amount of $267,687.11 as of August 31, 2016 plus

statutory interest accruing thereafter according to law for unpaid federal employment taxes for

the taxable periods ending March 31, 2004, through March 31, 2015, inclusive; and for unpaid

federal unemployment taxes for the taxable periods ending December 31, 2004, through

December 31, 2013, inclusive.



ENTERED this _____________ day of __________________, 20__.




                                                   ___________________________________
                                                                 CLERK




                                              1
